Mike De Nuncio, sometimes known as Mike Rossi, a resident of Idaho county, died intestate in Nez Perce county, leaving an estate consisting of personal property. The sheriff and coroner of Idaho county petitioned the probate court of that county, doubtless under I. C. A., sec. 15-101, to appoint Florence Murray, neither a relative nor creditor of the deceased, administratrix. Tony Denzo filed his opposition thereto and applied for letters of administration thereto on his own behalf as a nephew of deceased. The court denied Denzo's petition and opposition and appointed Miss Murray administratrix. On appeal by Denzo the district court reversed the probate court as to Miss Murray because she was not in any class enumerated in I. C. A., sec. 15-1602, affirmed as to Denzo because the evidence was insufficient to show he was a relative, and ordered the probate court to appoint the public administrator of Idaho county. Both have herein appealed, Denzo specifying the denial of his petition and the portion of the judgment ordering the appointment of the public administrator of Idaho county as error. Miss Murray assigns as error the portion of the judgment discharging her from her appointment and ordering her to account, and that portion not affirming the order of the probate court appointing her administratrix; and the portion of the judgment ordering that the probate court appoint the public administrator of Idaho county as administrator.
Thus, no one by assignment of error questions the jurisdiction of the probate court of Idaho county, for which reason *Page 63 
we do not discuss or decide that point, and in limine it is sufficient to say the probate court of Idaho county and the district court were justified in finding that Denzo had not proved himself a relative of deceased.
Section 15-1602, I. C. A., as material herein, provides as follows:
"15-1602. Estates to be administered. — Every public administrator, duly qualified, must take charge of the estates of persons dying within his county, as follows: . . . .
"2. Of the estates of decedents who have no known heirs;"
The two precedent conditions bringing into operation this section of the statute, were that De Nuncio died in Nez Perce county and that there were no known heirs. While the point is attempted to be made that under I. C. A., sec. 15-1603, the public administrator of the county where a party dies, where he is resident of another county of the state, only "takes charge of the estate," the reference in I. C. A., sec. 15-1602,supra, to chapter 3 of title 15, which generally defines the rights and duties of executors and administrators, does not negative the force of the initial provision in sec. 15-1602,supra, that the public administrator of the county where one dies is the proper administrator to administer the estate, and finds additional support in section 15-312, I. C. A.
No case has been cited nor have we found one which is directly in point and there is nothing in other statutes with regard to the administration of estates which either impliedly or directly nullifies or minimizes the effect of section 15-1602, supra, which in turn is based upon a substantial reason and ground. The public administrator should be appointed where there are no known heirs, creditors, or claimants because the Legislature evidently and with propriety intended that the state should receive as large an amount as possible from such escheating estates and a minimum of or no expense would be connected with administration by the public administrator.
While neither the public administrator of Idaho nor Nez Perce counties are now before us, orderly procedure justifies us, in reversing the judgment of the district court, to call attention to section 15-1602, supra, providing that the probate *Page 64 
court should issue letters of administration to the public administrator of Nez Perce county covering the estate in question.
Judgment of the district court is thus reversed in part and remanded to the probate court for further proceedings in accordance herewith. No costs allowed.
Morgan, C. J., and Holden, J., concur.
Ailshie, J., did not sit nor participate in the opinion herein.